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           11
                 Attorneys for Plaintiff
           12    Anatoly Sorokin
           13
                                                      UNITED STATES DISTRICT COURT
           14
                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
           15
                                                          SAN FRANCISCO DIVISION
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                 Anatoly Sorokin,                                     Case No. 3:21-cv-03576-WHO
           18
                                                                      DECLARATION OF DR. PAVEL
           19                             Plaintiff,                  POGODIN, ESQ. IN SUPPORT OF
                                                                      PLAINTIFF’S RESPONSE TO
           20                                                         DEFENDANTS’ ADMINISTRATIVE
                                                                      MOTION AND CROSS-MOTION FOR
           21                     v.                                  LEAVE TO AMEND TO CORRECT
                                                                      INADVERTENT INACCURACIES IN
           22                                                         THE COMPLIANT

           23    HDR Global Trading Limited (A.K.A.
                 BitMEX), ABS Global Trading Limited,
           24    Arthur Hayes and Samuel Reed,

           25
                                          Defendants.
           26
           27
           28
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  ATTORNEYS            DECLARATION OF DR. PAVEL POGODIN            -1-    SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
             1
                 I, Pavel I. Pogodin, state and declare as follows:
             2
                 1.     I am an attorney of record in this action for Plaintiff Anatoly Sorokin. I am a member in
             3
                        good standing of the Bar of the State of California, and I am admitted to practice before
             4
                        this Court. I have personal knowledge of the matters set forth in this declaration, and if
             5
                        called upon to do so, I would willingly and competently testify as to those matters.
             6
                 2.     I made several inadvertent errors of technical nature in the First Amended Complaint filed
             7
                        on October 7, 2021. I deeply apologize for making these inadvertent technical mistakes.
             8
                 3.     All these errors were the result of my oversight and were not intentional.
             9
                 4.     I notified Defendants’ counsel of these inadvertent errors by October 11, 2021, or four
           10
                        days after filing of the First Amended Complaint.
           11
                 5.     Since at least October 11, 2021 I have been trying to obtain Defendants’ consent to the
           12
                        filing of a Notice of Errata or a corrective pleading. I asked Defendants to provide such
           13
                        consent multiple times.
           14
                 6.     Defendants first acted as if they would consent to the filing of the amended or corrective
           15
                        pleading and encouraged me to include therein all changes Plaintiff wanted to make.
           16
                        Based on this encouragement and acting in good faith, I provided Defendants with a Draft
           17
                        Second Amended Compliant.
           18
                 7.     Defendants subsequently refused to consent to the filing of the Draft Second Amended
           19
                        Compliant with the Court, if I did not give up Plaintiff’s right to amend as a matter of
           20
                        course under FRCP 15(a)(1), and instead used this draft to try to undermine the allegations
           21
                        of the First Amended Complaint.
           22
                 8.     If I knew that Defendants would try to use the Draft Second Amended Compliant that I
           23
                        sent them to try to undermine the allegations of the First Amended Complaint, I would not
           24
                        have provided it to them.
           25
                 9.     Thus, Defendants tricked me into sending them the Draft Second Amended Compliant,
           26
                        which they subsequently used for purposes other than I intended.
           27
                 10.    While Defendants did not oppose filing of the Notice of Errata or the corrective pleading,
           28
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  ATTORNEYS            DECLARATION OF DR. PAVEL POGODIN          -2-      SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
             1
                        I was unable to obtain the consent from Defendants to file these documents, if I did not
             2
                        give up Plaintiff’s right to amend as a matter of course under FRCP 15(a)(1).
             3
                        I declare under penalty of perjury under the laws of the United States of America that the
             4
                 foregoing is true and correct.
             5
                        Executed on November 4, 2021, in Carolina, Puerto Rico.
             6
                                                                     By:        /s/ Pavel I. Pogodin
             7                                                                  Pavel I. Pogodin
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  ATTORNEYS            DECLARATION OF DR. PAVEL POGODIN        -3-         SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
